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Dear Judge Lasnik,

        I am writing to you in relation to the sentencing for Dirk Tichgelaar. Although I know that there
is no excuse for the actions he has committed, I felt that I should share some formative experiences
from his past that put him on this path, and ask that you would consider assigning Dirk to receive
appropriate counseling and therapy to treat these unresolved traumas.

          When Dirk was a young child he was physically, and I suspect sexually, abused by his father. This
continued for many years until Dirk was a young adult and only stopped when Dirk was strong enough
to fight back against his father, and he became abusive of his father in turn. He was taught that inflicting
abuse was the only way of escaping abuse. I don’t know much more about his childhood, only that he
still carries pain and distrust from those events. I believe that this early and sustained childhood and
young adult trauma has arrested Dirk’s physiological and emotional development, which have in turn
contributed to the actions for which he has been convicted.

        In your sentencing, please include appropriate counseling and therapy for the physical and
sexual abuse Dirk suffered as a child, which he has never recovered from, and which has contributed to
his poor behavior. I sincerely hope and believe that with proper treatment and recovery that Dirk will be
able to overcome this long standing trauma and pursue a life that is law-abiding, honest, and
constructive.

Thank you for your time and consideration.

-Christian Cowles
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To whom it may concern,

Dirk Tichgelaar began working for Jadent Inc. 6/03/16 and worked thru 05/29/18 . I am the office
manager and have worked with the company for over 30 years. I have worked as an independent
contractor and had my own company until 5 years ago and currently work as the executive office
manager. In my years of hiring and firing, I believe I am a good judge of character. I didn’t know Dirk
very well when he was hired on. But as time passed, I grew to know him and consider him a friend. I
knew he had a troubled past, but we all have in one way or another.

Dirk was the perfect employee. He excelled at his job and with my OCD, his paperwork was impeccable .
I remember a particular meeting, I announced that Dirk was my golden child because he was the only
employee that did everything perfect.

Dirk confided in me many times. About his personal life mostly. He really wanted to be socially correct.
In prison, time stands still. Your soul does not grow. He was very self conscious if his behavior was
appropriate. He worried about that a lot. We had many talks..

He worked a few years for us, made a lot of friends along the way. He was the guy who helped the
newbies with their job. Very well liked . When he wanted to move forward with new endeavors, we
were upset but understood he needed to expand. He missed a lot of living. He stayed in contact for a
long time. I tried to call him many times hoping he would come back to work as the business has
suffered with the pandemic.

I’m sad to hear he is in a bad predicament. I hope you will show some leniency as I know the person
behind the crimes. He really is a good man, not perfect but willing to learn from his mistakes. He’s a kind
soul who may not always know the appropriate behavior but will do what it takes to learn and grow to
become a better man. He is always welcome here.

Please let me know if you have any questions or need additional a Information.

Thank you for taking the time to read this letter.



Sincerely,



Georgia Negus, 503-887-1102
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